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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

 In re Terrorist Attacks on September 11, 2001 03 MDL 1570 (GBD) (SN)
                                               ECF Case


This document relates to:

Ashton et al. v. al Qaeda Islamic Army, et al., 02-cv-6977 (GBD)(SN)

  MOTION TO SUBSTITUTE PARTIES PURSUANT TO FEDERAL RULE OF CIVIL
                         PROCEDURE 15(d)


       Pursuant to Federal Rules of Civil Procedure 15(d), Capparis et al. Plaintiffs herein move

the Court to allow substitution of the party as identified on Exhibit A in the above referenced

action. The individual being substituted into the case is the Personal Representative of the

previous Personal Representative of an individual killed as a result of the terrorist attacks on

September 11, 2001 (a “9/11 decedent”) or is the Personal Representative for a family member

of a 9/11 decedent.

       Exhibit A identifies the individuals to be substituted in the pleading, including the

capacity in which they seek to be substituted, state of residency of the decedent at the time the

complaint was filed, the existing pleading that refers to the plaintiff, and the decedent of which

the plaintiff is the Personal Representative.

       Plaintiffs propose that, upon endorsement of Plaintiffs’ Proposed Order, the substituted

parties be individually entered as a Plaintiff into the Court’s ECF system to ease the burden on

the Clerk of the Court’s Office and the size of this MDL



                                                        /s/ Andrew J. Maloney, III, Esq.
                                                        Andrew J. Maloney
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                                     Kreindler& Kreindler, LLP
                                     485 Lexington Ave, 28th Fl
                                     New York, NY 10017
                                     T (212) 687-8181
                                     Amaloney@kreindler.com




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                          Exhibit A
                                                                                                Case 1:02-cv-06977-GBD-SN Document 1681 Filed 07/21/22 Page 4 of 4




                         (ESTATE REPRESENTATIVE)




                                                                 (ESTATE REPRESENTATIVE)




                                                                                                               (ESTATE REPRESENTATIVE)




                                                                                                                                                            (ESTATE REPRESENTATIVE)




                                                                                                                                                                                                                                                               9/11 DECEDENT'S SUFFIX
                                                                                                                 SUBSTITUTE PLAINTIFF




                                                                                                                                                              SUBSTITUTE PLAINTIFF
                            PREVIOUS PLAINTIFF




                                                                    PREVIOUS PLAINTIFF
                                                                                                                                                                                        State of                                                                                         State of




                               MIDDLE NAME




                                                                                                                     MIDDLE NAME
       PREVIOUS                                     PREVIOUS                               SUBSTITUTE                                    SUBSTITUTE
                                                                                                                                                                                      Residency of                                                                                      Residency
      PLAINTIFF                                     PLAINTIFF                               PLAINTIFF                                     PLAINTIFF                                                                             9/11




                                                                          SUFFIX




                                                                                                                                                                     SUFFIX
                                                                                                                                                                                      Substituted               9/11                        9/11                                            of
        (ESTATE                                      (ESTATE                                 (ESTATE                                       (ESTATE                                                                          DECEDENT'S
#                                                                                                                                                                                      Personal CASE NUMBER DECEDENT'S                   DECEDENT'S                                        9/11
     REPRESENTA                                    REPRESENTA                              REPRESENTA                                    REPRESENTA                                                                           MIDDLE
                                                                                                                                                                                      Representati          FIRST NAME                   LAST NAME                                      DECEDE
      TIVE) FIRST                                   TIVE) LAST                              TIVE) FIRST                                   TIVE) LAST                                                                           NAME
                                                                                                                                                                                           ve                                                                                             NT at
         NAME                                         NAME                                     NAME                                         NAME
                                                                                                                                                                                       at Filing                                                                                          Death



 1   Gail                                          Brennan                                 Sheila                                        Capparis                                       NJ     1:02-cv-06977   Edward       A.           Brennan               III                        NY
2    Bob                                           Cheatham                                Arthur                                        Cheatham                                       NY     1:02-cv-06977   Delrose      Forbes       Cheatham                                         NY
3    Robert                                        Clark                                   Regina                                        Gans                                           MD     1:02-cv-06977   Eugene                    Clark                                            NY
4    Marianne                                      Cruikshank                              Douglas        A                              Cruikshank                                     NY     1:02-cv-06977   Robert                    Cruikshank                                       NY
5    Robert                                        Devitt               Sr                 Joyce                                         Devitt                                         NJ     1:02-cv-06977   Robert                    Devitt                                           NJ
6    David                                         Distefano                               Frank                                         Distefano                                      NY     1:02-cv-06977   Douglas                   Distefano                                        NY
7    Eileen                                        Geraty                                  Erin                                          Durkin                                         FL     1:02-cv-06977   Suzanne                   Geraty                                           NY
8    Joseph                                        Hromada                                 Stephen                                       Hromada                                        NY     1:02-cv-06977   Milagros                  Hromada                                          NY
9    Frederick                                     Irby                                    Kenneth                                       Irby                                           AL     1:02-cv-06977   Stephanie                 Irby                                             NY
10   Jan                                           Kandell                                 Beatrice                                      Kandell                                        NJ     1:02-cv-06977   Shari                     Kandell                                          NJ
11   Emmet          P.                             Kelly                                   James          P.                             Kelly                                          NY     1:02-cv-06977   Thomas       Richard      Kelly                                            NY
12   Ilia                                          Rodriguez                               Haydee         C.                             Lillo                                          NY     1:02-cv-06977   Carlos                    Lillo                                            NY
13   Lloyd          C.                             Mair                                    Yvonne                                        Ramirez                                        GA     1:02-cv-06977   Linda        C.           Mair Grayling                                    NY
14   Jeffrey                                       Lovit                                   Jason                                         Seymour                                        CA     1:02-cv-06977   Jacqueline                Norton                                           MN
15   Jeffrey                                       Lovit                                   Jason                                         Seymour                                        CA     1:02-cv-06977   Robert       G.           Norton                                           MN
16   Helen                                         Passaro                                 Irene                                         Durbin                                         NY     1:02-cv-06977   Suzanne      H.           Passaro                                          NY
                                                                                                                                         Machinksi
                                                                                           Joseph and
17   Helen                                         Pfeifer                                                                               (Mary &                                         NY    1:02-cv-06977 Kevin                       Pfeifer                                          NY
                                                                                           Mary
                                                                                                                                         Joseph (Pfeifer)
18   Robin                                         Theurkauf                               Thomas         Francis                        Theurkauf                 III                   CT    1:02-cv-06977 Thomas         F.           Theurkauf       Jr.                              CT
19   Floyd                                         Weil                                    Judith                                        Weil                                            NY    1:02-cv-06977 Joanne         F.           Weil                                             NY
